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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

ABDY NIZEYIMANA, on behalf of                       )
himself and all others similarly situated,          )
                                                    )
                       Petitioners,                 )
                                                    )
                v.                                  )      Civil Action No. 20-10685-ADB
                                                    )
ANTONE MONIZ, Superintendent of the                 )
Plymouth County Correctional Facility               )
                                                    )
                       Respondent.                  )

                             RESPONDENT’S STATUS REPORT

       Respondent Antone Moniz (“Respondent”), Superintendent of the Plymouth County

Correctional Facility (“PCCF”), by and through his attorney, Andrew E. Lelling, United States

Attorney for the District of Massachusetts, respectfully submits this status report to inform the

Court and parties of the below developments.

       On July 31, 2020, PCCF received a pretrial detainee facing state charges. PCCF received

word from the arresting agency that the detainee earlier had tested positive in the community.

PCCF was able to verify through the Massachusetts Department of Public Health that the detainee

had tested positive on July 13, 2020, which was 18 days prior to his admission to PCCF. On the

advice of the on-call healthcare provider, PCCF kept the detainee in medical isolation until he

could be seen by the on-site healthcare provider. A physician saw the detainee on August 3, 2020,

and cleared him to go to the intake quarantine unit, where he will remain for 14 days per PCCF

protocol.
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       By way of further update, including the information reported above, Respondent reports

that, as of the date of filing, there have been 71 tests for COVID-19 involving PCCF inmates and

detainees, and 67 of those tests were negative.

                                                   Respectfully submitted,

                                                   ANTONE MONIZ
                                                   Superintendent of the Plymouth
                                                   County Correctional Facility

                                                   By his attorneys,

                                                   ANDREW E. LELLING,
                                                   United States Attorney

                                             By:   /s/ Jason C. Weida
                                                   Jason C. Weida
                                                   Assistant U.S. Attorney
                                                   United States Attorney’s Office
                                                   1 Courthouse Way, Suite 9200
                                                   Boston, Massachusetts 02210
                                                   (617) 748-3180
Dated: August 3, 2020                              Jason.Weida@usdoj.gov
